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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:17-cv-60426-UU

 ALEKSEJ GUBAREV, et al.,

         Plaintiffs,

 v.

 BUZZFEED, INC., et al.,

       Defendants.
 ______________________________________/



                                   ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court upon a sua sponte examination of the record.

         THE COURT has considered the pertinent portions of the record and is otherwise fully

 advised in the premises. On August 3, 2017, the Court ordered the Parties to conduct mediation

 on November 11, 2017. D.E. 48. To date, no mediation report has been filed. Accordingly, it is

         ORDERED AND ADJUDGED that the Parties SHALL file a mediation report from their

 mediation no later than Friday, December 8, 2017. Failure to comply with this order will result

 in the immediate dismissal of this action.

         DONE AND ORDERED in Chambers, Miami, Florida this _4th_ day of December,

 2017.




                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
 cc: counsel of record.
